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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ALVIA DUBOSE, individually            )
and on behalf of all others           )
similarly situated,                   )
                                      )
       Plaintiff,                     )   CASE NO.:
                                      )
v.                                    )   CLASS ACTION
                                      )
FLAGSTAR BANCORP, INC.,               )   JURY TRIAL DEMANDED
                                      )
       Defendant.                     )
                                      )
                                      )

                          CLASS ACTION COMPLAINT

                     I.         PRELIMINARY STATEMENT

      1.     Plaintiff Alvia DuBose, individually and on behalf of all others

similarly situated, files this Class Action Complaint against Defendant Flagstar

Bancorp, Inc. Plaintiff alleges, based on personal knowledge as to Defendant’s

actions and upon information and belief as to all other matters, as follows:

                          II.     NATURE OF THE CASE

      2.     This is a consumer class action based upon Defendant’s violations of

the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681x (“FCRA”). Plaintiff brings

this action on behalf of hundreds, if not thousands, of employment applicants who




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have been the subject of Defendant’s illegal practices under the Fair Credit

Reporting Act.

      3.    Congress created heightened standards regulating the use of consumer

reports for employment purposes. 15 U.S.C. § 1681b(b)(3). Under the FCRA, a

person using a consumer report for employment purposes who intends to take any

adverse employment action based in whole or in part on the report must provide the

consumer with a “copy of the report” and a written description of the consumer’s

rights under the FCRA, before taking such adverse action. Id.

      4.    As the Federal Trade Commission has made clear, “a copy of the

complete report must be made available.” Federal Trade Commission Advisory

Opinion to Willner, dated March 25, 1999 (emphasis added). “Information cannot

be redacted in those instances in which the FCRA requires that the consumer be

provided a copy of a consumer report.” Federal Trade Commission Advisory

Opinion to Vail, April 5, 1999.

      5.    This is one of the most fundamental protections afforded to employees

under the FCRA. The purpose of this requirement is to allow prospective and current

employees to know the complete personal information that is being reported about

them, and to allow them an opportunity to clear up any inaccuracies or misstatements

in the report and to address any misunderstandings the report may have created for

the employer before the employer receives a supposedly “verified” report from a



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third-party agency.     For this reason, the FCRA is designed to provide

employees/applicants with ample time to identify inaccuracies or misunderstandings

in their consumer reports and correct or explain them before the employer has made

an employment decision.

      6.     When an employer fails to comply with Section 1681b(b)(3), it causes

a consumer to suffer a particularized and concrete injury in that they are deprived of

their right to information before being denied employment. See O’Donnell v. RCO

Legal, P.S., Inc., No. 1:17-CV-02072-ELR, 2018 WL 1871946, at *4 (N.D. Ga. Mar.

22, 2018) (finding that plaintiff has Article III standing in Section 1681b(b)(3) case

where defendant deprived plaintiff of her right to information before rescinding

offer, even where information in consumer report is accurate).

      7.     Defendant systematically violates Section 1681b(b)(3) of the FCRA by

using consumer reports to take adverse employment action without, beforehand,

proving the person who is the subject of the report sufficient and timely notification

and a copy of the complete report and summary of rights under the FCRA.

Defendant’s failure leaves the person who is the subject of the report without any

meaningful opportunity to review the complete information that is being reported

about them and to correct any errors on the report.




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                       III.   JURISDICTION & VENUE

      8.     Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28 U.S.C.

§ 1331.

      9.     Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).

                                 IV.    PARTIES

      10.    Plaintiff is an adult individual who resides in Lithonia, Georgia.

      11.    Defendant regularly conducts business in this division and district, and

it can be served via its registered agent, CSC-Lawyers Incorporating Service at 601

Abbot Road in East Lansing, MI 48823.

                       V.     FACTUAL ALLEGATIONS

A.    Defendant’s Use of Background Screening Reports

      12.    Defendant conducts background checks on applicants for employment.

      13.    Under the FCRA, a “user” of a consumer report, such as Defendant,

who intends to take any “adverse action” against a job applicant “based in whole or

in part” on information obtained from the consumer report must provide notice of

that fact to the consumer job applicant, and must include with the notice “a copy of

the report” and a notice of the consumer’s dispute rights under the FCRA before

taking the adverse action. 15 U.S.C. § 1681b(b)(3)(A).

      14.    The reasons for the “pre-adverse action notice” requirement with regard

to employment situations are to alert the consumer job applicant that she is about to



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experience an adverse action, such as a rejection, based on a report’s contents, and

to provide her an opportunity to challenge the accuracy, completeness or relevancy

of the information with the consumer reporting agency or the user before that job or

job prospect is lost.

      15.    But Defendant, when it intends to take any “adverse action” against a

job applicant “based in whole or in part” on information obtained from the consumer

report, does not provide notice of that fact to the consumer job applicant, and does

not include with the notice a copy of the complete consumer report and a notice of

the consumer’s dispute rights under the FCRA before taking the adverse action.

B.    The Experience of Plaintiff

      16.    On or about July 14, 2020, Defendant extended an offer to Ms. DuBose

to join the company as a Loan Processor III in a work-from-home position in

Georgia.

      17.    The offer was contingent on the successful completion of a background

check and Ms. DuBose’s anticipated start dates were August 3 or 10, 2020.

      18.    Ms. DuBose accepted the offer and authorized Defendant to procure a

background check on her.

      19.    On August 6, 2020, Defendant emailed Ms. DuBose with questions

about her background. At the time, Defendant did not provide Ms. DuBose with a




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copy of her complete consumer report or notify her that it was contemplating taking

an adverse action against her.

      20.    On August 12, 2020, Ms. DuBose emailed Defendant and requested a

copy of her background check.

      21.    Defendant did not, and has not, responded to Ms. DuBose’s request.

      22.    Now, more than a month later after Ms. DuBose’s request and nearly

two months after Ms. DuBose’s expected start date, Defendant still has not provided

Ms. DuBose with a complete copy of her consumer report, despite taking an adverse

action against her based in whole or in part on the consumer report. Nor has

Defendant moved forward with Ms. DuBose’s employment, despite its offer of

employment pending the results of the background check.

                VI.    CLASS ACTION ALLEGATIONS

      23.    Plaintiff brings this action pursuant to the Federal Rules of Civil

Procedure 23(a) and 23(b)(3) on behalf of the following Class:

             The Pre-Adverse Action Class:

             All natural persons residing within the United States and its
      Territories about whom, (i) beginning five years prior to the filing of
      this Complaint and continuing through the conclusion of this action, (ii)
      were the subject of a consumer report used by Flagstar Bancorp, Inc.
      for employment purposes; (iii) were the subject of an adverse action by
      Flagstar Bancorp, Inc. based in whole or in part based on a consumer
      report, and (iv) were not provided with a copy of the complete report
      and/or a written summary of their rights under the FCRA.




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      24.   Plaintiff reserves the right to amend the definition of the Class based on

discovery or legal developments.

      25.   Numerosity. FED. R. CIV. P. 23(a)(1). The Class members are so

numerous that joinder of all is impractical. Upon information and belief, Defendant

makes employment decisions on hundreds, if not thousands, of consumers each year

based on their consumer reports, and those persons’ names and addresses are

identifiable through documents maintained by Defendant.

      26.   Existence and Predominance of Common Questions of Law and

Fact. FED. R. CIV. P. 23(a)(2). Common questions of law and fact exist as to all

members of the Class and predominate over the questions affecting only individual

members. The common legal and factual questions include, among others, whether

Defendant willfully violated section 1681b(b)(3) of the FCRA.

      27.   Typicality. FED. R. CIV. P. 23(a)(3). Plaintiff’s claims are typical of

the claims of each Class member. Plaintiff has the same claims for statutory and

punitive damages as Class members, arising out of Defendant’s common course of

conduct.

      28.   Adequacy.      FED. R. CIV. P. 23(a)(4).      Plaintiff is an adequate

representative of the Class. Her interests are aligned with and not antagonistic to,

the interests of the members of the Class she seeks to represent, she has retained

counsel competent and experienced in such litigation, and she intends to prosecute



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this action vigorously. Plaintiff and her counsel will fairly and adequately protect

the interests of the members of the Class.

      29.     Predominance and Superiority. FED. R. CIV. P. 23(b)(3). Questions

of law and fact common to the Class members predominate over questions affecting

only individual members, and a class action is superior to other available methods

for fair and efficient adjudication of the controversy. The statutory and punitive

damages sought by each member are such that individual prosecution would prove

burdensome and expensive given the complex and extensive litigation necessitated

by Defendant’s conduct. It would be virtually impossible for the members of the

Class individually to redress effectively the wrongs done to them. Even if the

members of the Class themselves could afford such individual litigation, it would be

an unnecessary burden on the courts. Furthermore, individualized litigation presents

a potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and to the court system presented by the complex legal and

factual issues raised by Defendant’s conduct. By contrast, the class action device

will result in substantial benefits to the litigants and the Court by allowing the Court

to resolve numerous individual claims based upon a single set of proof in a unified

proceeding.




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                              VII. CAUSES OF ACTION

                                      COUNT I

                                15 U.S.C. § 1681b(b)(3)
       99. Plaintiff incorporates the foregoing paragraphs as though the same were

set forth at length herein.

       100. Plaintiff is a “consumer” as defined by the FCRA, 15 U.S.C.

§ 1681a(c).

       101. Defendant is a “person” and regularly uses background reports for

employment purposes. 15 U.S.C. § 1681a(b).

       102. The reports ordered by Defendant are “consumer reports” within the

meaning of 15 U.S.C. § 1681a(d).

       103. The FCRA provides that any person “using a consumer report for

employment purposes” who intends to take any “adverse action based in whole or

in part on the report,” must provide the consumer with a complete “copy of the

report” and a written description of the consumer’s rights under the FCRA, as

prescribed by the Federal Trade Commission, before taking any such adverse action.

15 U.S.C. § 1681b(b)(3)(A).

       104. For purposes of this requirement, an “adverse action” includes “any …

decision … that adversely affects any current or prospective employee.” 15 U.S.C.

§ 1681a(k)(1)(B)(ii).



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        105. The FCRA requires Defendant, as a user of consumer reports for

employment purposes, before taking adverse action based in whole or in part on the

report, to provide to the consumer to whom the report relates, a copy of the report

and a written description of the consumer’s rights under the FCRA. 15 U.S.C.

§§ 1681b(b)(3)(A)(i) and (ii).

        106. Defendant willfully violated section 1681b(b)(3) of the FCRA by

failing to provide consumers, including Plaintiff, the following before using such

reports: (a) the required Pre-Adverse Action Notice; (b) a copy of the complete

consumer report; and (c) a written description of the consumer’s rights under the

FCRA.

        107. As a result of Defendant’s willful violation of section 1681b(b)(3) of

the FCRA, Plaintiff and Class Members are entitled to statutory damages of between

$100 and $1,000, as well as punitive damages in an amount to be determined by the

Court pursuant to 15 U.S.C. § 1681n. Alternatively, Defendant was negligent,

entitling Plaintiff to recover under 15 U.S.C. § 1681o.

        108. Plaintiff is entitled to recover attorneys’ fees pursuant to 15 U.S.C.

§1681n(a) or, alternatively, 15 U.S.C. 1681o(a).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff and the Class pray for relief as follows:




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         A.    An order certifying the case as a class action on behalf of the proposed

Class under Federal Rule of Civil Procedure 23 and appointing Plaintiff and the

undersigned counsel of record to represent same;

         B.    An award of actual, statutory and punitive damages for Plaintiff and the

Class;

         C.    An award of pre-judgment and post-judgment interest as provided by

law;

         D.    An award of attorney's fees and costs; and

         E.    Such other relief as the Court deems just and proper.

                                   TRIAL BY JURY

         Plaintiff hereby requests a trial by jury on those causes of action where a trial

by jury is allowed by law.




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DATE: September 16, 2020

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